A0199A (Rev. 12/11) Order Setting CondUions ofRelease                                                   Page 1 of    3      Pages



                                         UNITED STATES DISTRICT                      COURT
                                                              for the
                                                                                                      FILED IN OPEN COURT
                                                                                                         U.S.D.C.-Atlanta


                                                   NORTHERN DISTRICT OF GEORGIA
                                                                                                       APR - 5 2018
                                                                                                By
             UNITED STATES OF AMERICA                            )
                                 V.                              )
                                                                 )              Case No.: I:I8-CR-98
                        MTZIBICKERS                              )
                             Defendant
                                                                 )



                                         ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

(1) The defendant must not violate federal state, or local law while on release.

(2) The defendant must cooperate in the collection of a DNA          sample if it is authorized hy 42 U.S.C. § 14135a.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making any
    change ofresidence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that the
    court may impose.

     The defendant must appear at:
                                                                                    Place




     on
                                                                Date and Time


     If blank, defendant will be notified of next appearance.

     The defendant must sign an Appearance Bond, if ordered.
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                                                         ADDITIONAL CONDITIONS OF RELEASE

        mS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:

(   )       (6)
              The defendant is placed in the custody of:
              Person or organization
              Address (only if above is an
              organization)
              City and state                                                                                    Tel No.
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant's appearance at all court proceedings, and (c) notify the court immediately i
defendant violates a condition of release or is no longer in the custodian's custody.

                                                                              Signed:
                                                                                                 Custodian                                     Date
(X)       (7) The defendant must:
        ( X ) (a) submit to supervision by and report for supervision to the      () U.S. Pretrial Services (XX) U.S. Probation Office
                   telephone number         404-215-1950          ,      () No later than                  () Before leaving courthouse, jyr
        ( X ) (b) continue or actively seek employment
        (    ) (c) continue or start an education pro-am.
        ( X ) (d) surrender any passport to: Uyfour supervising officer by:               , and do not obtain nor possess a passport or other international
                   travel document, not obtain or possess a passport or other international travel document in your name, another name or on behalf of a third
                   party, including minor children.
        (    ) (e) abide by the following restrictions on personal association, residence, or travel

        ( X )         (D avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                         including:                                                                                            '

        (         ) (g) get medical or psychiatric treatment:         () as directed by your supervising officers              ()

        (         ) (h) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                         necessary.
        ( X       ) (i) not possess a firearm, destructive device, other weapon, or ammunition, in your home, vehicle or place of employment, or upon your
                        person.
        ( X       ) (j) not use alcohol (          ) at all ( X ) excessively.
        ( X       ) (k) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S. C. § 802, unless lawfully prescribed by a medica
                         licensed medical practitioner.
        ( \^      ) (I) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer Testing may be used with random
                        frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited substance
                         screening or testing. The defendant must not obstruct, attempt to obstruct or tamper with the efficiency and accuracy of prohibited substance
                         screening or testing.
        (         ) (m) participate in a program of inpatient or outpatient substance abuse therapy and counseling ifdirected by the pretrial services office or supervising
                         officer
        (         ) (n) participate in one of the following location restriction programs and comply with its requirements as directed.
                         (    ) (i) Curfew. You are restricted to your residence every day (              )from                     to             , or (     ) as
                                      directed by the pretrial services office or supervising officer; or
                         (    ) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services; medical
                                      substance abuse, or mental health treatment; attomeyvisits; court appearances; court-ordered obligations; or other activities approve
                                      in advance by the pretrial services office or supervising officer; or
                         (    ) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence exceptfor medical necessities and court
                                      appearances or other activities specifically approved by the court
        (         ) (a) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
                         requirements and instructions provided.
                         (    ) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or
                                supervising officer.
        ( X       ) (p) report within 72 hours to the pretrial services office or supervising officer, every contact with law enforcement personnel including arrests,
                         questioning, or traffic stops.
        ( X       ) (p) restrict travel to the Northern District of Georgia unless the supervising officer has approved travel in advance.
        (         ) (r)
        (         ) (s)


        (         )   (t)                                                                                       —
^AO199C       (Rev. 12/03) Advice of Penalties...                                                             Page       3     of    3      Pages

                                                     Advice of Penalties and Sanctions

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

         Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in a term of
imprisonment, a fine, or both.
         While on release, if you commit a federal felony offense, the punishment is an additional prison term of not more than ten
years; if you commit afederal misdemeanor offense, the punishment is an additional prison term ofnot more than one year. This sentence will
be consecutive (ie., in addition to) any other sentence you receive.
        It is a crime punishable by up to ten years of imprisonment and a $250,000 fine or both to: obstruct a criminal
investigation; tamper with a witness, victim or informant; or intimidate or attempt to intimidate a witness, victim, juror, informant, or officer
of the court The penalties for tampering, retaliation, or intimidation are significantly more serious ifthey involve a killing or attempted killing
        If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence,
you may be prosecutedfor failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
        (1) an offense punishable by death, life imprisonment, or imprisonment for a term offifteen years or more, you shall be fined
              not more than $250,000 or imprisoned for not more than 10 years, or both;
        (2) an offense punishable by imprisonment for a term offive years or more, but less than fifteen years, you shall be fined not
              more than $250,000 or imprisonedfor not more than five years, or both;
        (3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
        (4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
        A term of imprisonment imposedfor failure to appear or surrender shall be in addition to the sentence for any other offense. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                       Acknowledgment of Defendant

       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions of
release, to appear as directed, and to surrender for service ofany sentence imposed. I am cmare of the penalties ,ancMsancti0ns..sstforth above.


                                                                                                      Signature of Defendant


                                                                                                             Address


                                                                                     City and State                            Telephone



                                                    Directions to United States Marshal

( \ / j The defendant is ORDERED released after processing.
^ J The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk orjudge that the defendant has posted
        bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced befi^re the appropriate
       judge at the time and place specified.

Date:                            04/05/2018                                         /Cb.J'YxA^     1/    Q
                                                                                                  Signature of Judicial Officer

                                                                                RUSSELL G. VINEYARD. U.S. mCISTRATE          JUDGE
                                                                                           Name and Title of Judicial Officer

                        DISTRIBUTION: COURT         DEFENDANT       PRETRMI SERVICE       U.S. ATTORNEY      U.S MARSHAL
